Case 2:03-cv-02955-.]DB-dkv Document 33 Filed 07/28/05 Page 1 of 3 Page|D 31

IN THE UNITED sTATsS oisTRiCT COURT %51": C
FOR THE WESTERN DIsrRiCT oF TENNESSEE rig m 2
WESTERN DIVISION 3 ill l=9 hit

United States ofAmerica,

 

Plaintiff,

vs. Civil No. 03-2955-BV

Fii"ty-Three Thousand Five Hundred
TWenty-Six Dollars, Twelve Cents
(353,526.12) in U.S. Funds,

Thirty-Nine Thousand Seven Hundred
Twelve Dollars, Fifty-Seven Cents
($39,712.57) in U.S. Funds,

Det`endants.

 

CONSENT ORDER EXTENDING STAY OF PROCEEDINGS

 

This case is currently set for a scheduling conference on July 28, 2005. The parties seek to
extend by 90 days the stay of the above-styled case, previously granted by the Court in an order entered
May 31, 2005, because of an ongoing criminal investigation

For good cause shown, the motion is granted This case is stayed

until mu/wj“?} / 057’&4£7,°2£:1§t-he scheduling conference is reset to that date
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DIANE K. VESCOVO
United States Magistrate Judge

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with sue 5a andre recall race go j_é_‘?___ 7 7_'77 7 7 777:Q§

 

Case 2:03-cv-02955-.]DB-dkv Document 33 Filed 07/28/05 Page 2 of 3 Page|D 32

APPROVED AND CONSENTED:

TERRELL L. HARRIS
United States Attorney

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Assistant United States Attomey
Attomey for the Plaintil"f

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Attorney for Claimant TSL Consulting

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.Rufu Garis, 111 ’

Attorney for Claimants Amy Chadwick
and A & J Consulting, lnc.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:03-CV-02955 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

